             Case 1:21-cv-01032-PAE Document 70-14 Filed 05/09/22 Page 1 of 6

Created : 06/13/2019 02:52:08 BST by kborrud_NFL_PROD@zuora.com

Last Modified : 08/17/2020 04:01:41 BST by alessio.soncin@deltatre.com

Subscriptions & Amendments

Subscription Number:              A-S00606139

CMRR:                             22.92 AUD


List of Products:                 Premium


Contract Effective Date:          08/01/2018


Next Renewal Date:                08/01/2022


Status:                           Active


Currency:                         AUD


Total MRR:                        22.92


Total TCV:                        824.97




Amendment Number:                  A-AM02513933

Change in CMRR:                    0.00 AUD


Type:                              Renewal


Effective Date:                    08/01/2021


Last Modified Date:                08/01/2021


Status:                            Completed




Amendment Number:                 A-AM01379738

Change in CMRR:                   0.00 AUD


Type:                             Renewal


Effective Date:                   08/01/2020


Last Modified Date:               08/01/2020


Status:                           Completed




                                                                          DEF0000169
               Case 1:21-cv-01032-PAE Document 70-14 Filed 05/09/22 Page 2 of 6

Amendment Number:             A-AM00568429

Change in CMRR:               0.00 AUD


Type:                         Renewal


Effective Date:               08/01/2019


Last Modified Date:           08/01/2019


Status:                       Completed




Transactions
INVOICES




PAYMENTS




                                                                            DEF0000170
             Case 1:21-cv-01032-PAE Document 70-14 Filed 05/09/22 Page 3 of 6

Email History




Callout History




Copy of emails




    Dear Null,

    We are writing to inform you that your payment of AUD274.99 for your NFL Game Pass subscription has
    been processed on 08/03/2021.




                                                                                             DEF0000171
             Case 1:21-cv-01032-PAE Document 70-14 Filed 05/09/22 Page 4 of 6

For FAQs or to contact customer support, click here.

Start watching now! Click here.


Sincerely,

NFL Game Pass


    This e-mail was generated automatically. If you 'reply' to this message you will not get a response.

        For further details on NFL Game Pass International Terms and Conditions, please click here.




Dear Null,

We are writing to inform you that your payment of AUD274.99 for your NFL Game Pass subscription has
been processed on 08/20/2020.


For FAQs or to contact customer support, click here


Sincerely,

NFL Game Pass




    This e-mail was generated automatically. If you 'reply' to this message you will not get a response.




Dear Null,

We have attempted to take the payment that is currently due on your NFL Game Pass subscription.
However, there has been an error with our attempt and we will try again in the coming days. Should all of
our attempts to process payment fail, your NFL Game Pass subscription will be cancelled and you will no
longer be able to access content on the platform.

Please visit your account page to check that your payment details are up to date or contact your card
provider.


                                                                                              DEF0000172
             Case 1:21-cv-01032-PAE Document 70-14 Filed 05/09/22 Page 5 of 6

For FAQs or to contact customer support, click here


Sincerely,


NFL Game Pass




    This e-mail was generated automatically. If you 'reply' to this message you will not get a response.




Dear Null,

We have attempted to take the payment that is currently due on your NFL Game Pass subscription.
However, there has been an error with our attempt and we will try again in the coming days. Should all of
our attempts to process payment fail, your NFL Game Pass subscription will be cancelled and you will no
longer be able to access content on the platform.

Please visit your account page to check that your payment details are up to date or contact your card
provider.

For FAQs or to contact customer support, click here


Sincerely,


NFL Game Pass




    This e-mail was generated automatically. If you 'reply' to this message you will not get a response.



   © 2017 NFL Enterprises LLC. NFL and the NFL shield design are registered trademarks of the National
                                            Football League.




                                                                                              DEF0000173
              Case 1:21-cv-01032-PAE Document 70-14 Filed 05/09/22 Page 6 of 6

 Dear Null,

 We are writing to inform you that your payment of AUD274.99 for your NFL Game Pass subscription has
 been processed on 08/02/2019.


 For FAQs or to contact customer support, click here


 Sincerely,

 NFL Game Pass




     This e-mail was generated automatically. If you 'reply' to this message you will not get a response.



    © 2017 NFL Enterprises LLC. NFL and the NFL shield design are registered trademarks of the National
                                             Football League


© 2017 NFL Enterprises LLC. NFL and the NFL shield design are registered trademarks of the National Football
                                                 League.




                                                                                               DEF0000174
